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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
__________________________________________________________________________

ROWVAUGHN WELLS,

       Plaintiff,

v.                                                           Case No. 2:23-cv-02224-MSN-atc
                                                             JURY DEMAND

THE CITY OF MEMPHIS, et al.,

      Defendants.
______________________________________________________________________________

           ORDER REFERRING POTENTIAL DEPOSITION DISPUTES
______________________________________________________________________________

       A deposition in this matter is scheduled for May 22, 2025, at 9:30 a.m. In the event that

any disputes arise during this deposition that require adjudication by the Court, those disputes are

hereby REFERRED to United States Magistrate Judge Annie T. Christoff for determination or

for proposed findings and recommendation, as appropriate.

       Counsel are reminded of their professional obligation to conduct all discovery with civility

and in good faith.

       IT IS SO ORDERED, this 21st day of May, 2025.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE
